Case 2:05-cr-20131-SH|\/| Document 20 Filed 06/13/05 Page 1 of 2 Page|D 17
IN THE UNITED sTATEs DISTRICT COURT F"‘ED B""f LQ!L~ m
FOR THE WESTERN DISTRICT oF TENNESSEE

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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. UB-ZOlBl-Ma

VS.

FESTUS IKPETE,

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDA.'BLE DELAY

 

This cause came on for a report date on May 31, 2005.
Government counsel requested a continuance of the present trial
date in Order to allow for additional preparation in the case.
Defense counsel consented to the continuance.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., With a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period frmn May 31, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of June, 2005.

 

SAMUEL H. M.AYS, JR_
UNITE`.D STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

